      Case 5:25-cv-00951-PCP          Document 126-1         Filed 06/10/25   Page 1 of 3



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                             UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF CALIFORNIA
                                     SAN JOSE DIVISION

UNITED STATES OF AMERICA                            Case No. 5:25-cv-00951-PCP

               Plaintiff,

v.                                                  DECLARATION OF KOSTA S.
                                                    STOJILKOVIC
HEWLETT PACKARD ENTERPRISE CO. and
JUNIPER NETWORKS, INC,
                                                    Judge:              P. Casey Pitts
              Defendants.
                                                    Action Filed:       January 30, 2025


                                                1

                DECLARATION OF KOSTA S. STOJILKOVIC; Case No. 5:25-cv-00951-PCP
        Case 5:25-cv-00951-PCP           Document 126-1         Filed 06/10/25       Page 2 of 3



   I, Kosta S. Stojilkovic, pursuant to 28 U.S.C. § 1746, hereby declare as follows:

   1. I am a Partner at the law firm Wilkinson Stekloff LLP, which represents Defendant Hewlett

Packard Enterprise Co. (“HPE”) in the above-captioned case.

   2. I am an attorney admitted to practice in the District of Columbia, and I have been admitted to
appear pro hac vice in the above-captioned case.
   3. Pursuant to Civil Local Rule 7-11, I respectfully submit this Declaration in Support of
Defendants’ Defendants’ Motion for Even Allotment or Trial Time and to Preclude Trial by Out-of-
Court Submission, dated June 10, 2025.
   4. On May 28, 2025, DOJ emailed Defendants with proposals regarding the division of trial time,
the application of the chess clock, and the rule on sponsoring witnesses, among other matters. This
email was followed by multiple meet and confer discussions between DOJ and Defendants. Attached
as Exhibit A is a true and correct copy of DOJ’s May 28, 2025 email to Defendants.
   5. On June 4, 2025, DOJ and Defendants exchanged their affirmative deposition designations.
Defendants affirmatively designated approximately 8 hours of testimony in total from 18 deposition
witnesses. By contrast, DOJ affirmatively designated more than 25 hours from 13 deposition witnesses.
   6. On June 5, 2025, DOJ sent out 25 requests for Rule 902(11) declarations to third parties,
including to 10 third parties that were neither deposed nor identified on either side’s final witness list.
   7. On June 9, Defendants informed DOJ that they intended to file a motion to resolve the parties’
disagreement as to: (1) whether trial time should be split evenly; (2) whether deposition designations
should be submittable without being played at trial and without counting against the chess clock; and
(3) whether the rule on sponsoring witnesses should be enforced. DOJ responded, agreeing that the
parties were at an impasse on the issue of the latter two issues (the application of the trial clock and the
sponsoring witness rule). On the division of trial time, DOJ amended its original proposal and suggested
that DOJ should get 30 hours and Defendants 26 hours. DOJ also noted that if the Court disagreed with
its proposal, DOJ would seek additional time, such as by starting the trial at an earlier date or having
longer trial days. Attached as Exhibit B is a true and correct copy of the June 9, 2025 email exchange
between Defendants and DOJ.
   8. I declare under penalty of perjury that the foregoing is true and correct.

                                                     2

                                        Case No. 5:25-cv-00951-PCP
       Case 5:25-cv-00951-PCP         Document 126-1          Filed 06/10/25     Page 3 of 3




Executed on the 10th day of June, 2025, in Washington, D. C.



Dated: June 10, 2025                       Respectfully submitted,
                                                     By: /s/ Kosta Stojilkovic
                                                     Kosta S. Stojilkovic (pro hac vice)

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                                                 3

                                     Case No. 5:25-cv-00951-PCP
